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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

  SAINT LAWRENCE COMMUNICATIONS §                      Case No. 2:15-cv-00919-JRG-RSP
  LLC,                          §
                                                       (Lead Case)
                                §
            Plaintiff,          §
                                §
       v.                       §
                                §
  HTC CORPORATION AND HTC       §
  AMERICA, INC.,                §
                                §
            Defendants.         §
                                §
                                §
  HTC CORPORATION AND HTC       §                      Case No. 2:15-cv-001510-JRG-RSP
  AMERICA, INC.,                §
                                                       (Consolidated Case)
                                §
            Plaintiff,          §
                                §
  v.                            §
                                §
  ACACIA RESEARCH CORPORATION,  §
  SAINT LAWRENCE COMMUNICATIONS §
  LLC,                          §
                                §
            Defendants.         §
                                §

                          ORDER OF DISMISSAL WITHOUT PREJUDICE

         BEFORE THE COURT is the Joint Stipulation and Motion to Dismiss Without Prejudice

  of Saint Lawrence Communications (“St. Lawrence”) and HTC Corporation and HTC America,

  Inc. (collectively, “HTC”) for both case number 2:15-cv-919-JRG-RSP and consolidated matter

  2:15-cv-1510-JRG-RSP.

         In accordance with Fed. R. Civ. P. 41, the Court hereby ORDERS as follows:
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      -   St. Lawrence’s claims for relief against HTC and all of HTC’s counterclaims and
  .
          defenses against St. Lawrence in case number 2:15-cv-919-JRG-RSP are DISMISSED

          WITHOUT PREJUDICE;

      -   HTC’s claims for relief against St. Lawrence and all of St. Lawrence’s counterclaims and

          defenses against HTC in consolidated matter 2:15-cv-1510-JRG-RSP are DISMISSED

          WITHOUT PREJUDICE

      -   All attorneys’ fees, costs of Court, and expenses for both case number 2:15-cv-919-JRG-

          RSP and consolidated matter 2:15-cv-1510-JRG-RSP are to be borne by the party

          incurring same.
           SIGNED this 3rd day of January, 2012.
          SIGNED this 4th day of November, 2016.




                                                     ____________________________________
                                                     ROY S. PAYNE
                                                     UNITED STATES MAGISTRATE JUDGE
